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                             UNITED STATES DISTRICT COURT

                             EASTERN DISTRICT OF LOUISIANA

 LASHAWN JONES, ET AL.,                          *
                                                 *         CIVIL ACTION CASE
                                Plaintiffs,      *
                                                 *         NO. 2:12-cv-00859
 VERSUS                                          *
                                                 *         SECTION “I”
 MARLIN GUSMAN, ORLEANS PARISH                   *         JUDGE LANCE M. AFRICK
 SHERIFF, ET AL.,                                *
                                                           MAGISTRATE “5”
                                                 *
                                Defendants.                MICHAEL B. NORTH
                                                 *
 * * * * * * * * * * * * * * * * * * * * * * * * * * * * * * * * * * * * * *

               MEMORANDUM IN OPPOSITION TO MOTION TO EXPEDITE

       Independent Jail Compliance, Director Darnley R. Hodge, Sr., through undersigned

counsel, respectfully submits his memorandum in opposition to the City of New Orleans’ motion

to expedite, Doc. No. 1282, its motion for relief from Court Order of January 25, 2019 and March

18, 2019 regarding Phase III Jail Facility, Doc. No. 1281. The motion to expedite should be denied.

                                                 I.

       On June 10, 2020, the City issued an Updated Status Report which confirmed that it had

requested the “architect suspend Phase III construction design work.” Doc. No. 1279, at 2, despite

several Court orders. See, e.g., Doc. No. 1221 (The “City shall direct the architect chosen to design

the permanent facility . . .”); Doc. No. 1227 (The “City and the Orleans Parish Sheriff’s Office are

directed to continue the programming phase of Phase III.”).

                                                 II.

       In the Updated Status Report, the City stated it “will submit a Motion fully outlining the

City’s position, as requested by the Court, and will expedite consideration for same. The City is



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requesting seven to fourteen (7-14) business days to file the requested Motion, to ensure the City

has a reasonable opportunity to gather all relevant information, for submission to the Court.” Id.

                                                III.

       On June 29, 2020, nineteen days after filing its Update Status Report, the City filed its

motion for relief. The motion contained four affidavits and was noticed for submission for July 22,

2020. Under the Court’s normal hearing schedule, any opposition to the motion for relief will be

due July 14, 2020, ten business days from the filing of the motion for relief.

                                                IV.

       The City also seeks to expedite hearing on the motion for relief. The Director opposes that

request for expedited consideration. The motion for relief makes several arguments that need to be

addressed. A “reasonable opportunity” should be afforded the parties to respond to the City’s

request to forgo the construction of Phase III that has been planned for years.

       For the foregoing reasons, the City’s request to expedite should be denied.



                                                       Respectfully submitted,

                                                       /s/ Bryan C. Reuter
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